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In the United States District Court Southern District Court
Southern district Southery District of Mississippi

   
  
   

 

 

 

 

 

 

= ofa SOUTHERN DISTRICT OF MISSISSIPPI
its Division FILED
J.T. Blakney APR 19 2016
ARTHUR JOHNS
Vs. os atone

  

Mississippi Regional Housing Authority 8

Case number |; | yowld9 LG- 2Hb

COMPLAINT

Comes now Plaintiff J.T. Blakney Pro Se, and for cause of action against the defendant(s)
MISSISSIPPI] REGIONAL HOUSING AUTHORITY 8 would state:

JURISDICATION

It’s a Federal Regulation by HUD to have accommodations for person with disabilities to
be added to MS Regional Housing Authority dwelling lease also it is a federal form
optional and supplemental contact information for HUD-assisted housing applicants. That
is why this matter is being brought in federal court.

Plaintiff is an LEO ident ‘ n Ve count i Harrison state of Mississippi. The
defendant On né us Sara Ydult resident citizen of the county of
Harrison state of Mississippi. (The plaintiffs ark need to provide this information for
each of the defendants.)

 

FACTS

On 7/1/15 to 6/30/16 I signed a Mississippi Housing Authority dwelling lease that had the
section for people with disabilities intentionally left blank and then on April 14, 2016
may manager Michelle Trotter and another manager for Mississippi Regional Housing
Authority came to my therapist office, Shelley Foreman, 1600 Broad Avenue, Ms, 39501,
and tried to get me to sign another lease that doesn’t have in it the accommodation for
people with disabilities which is HUD regulation that is suppose to be put in the lease. I
didn’t sign it. And also violated the optional and supplemental contact information for
HUD-assisted housing applicants never sending my son letter dated August 3, 2015.
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RELIEF

 

25 million in punitive damage for violating HUD regulation and 25 million for mental
anguish harassment and pain and suffering. \
day of “|

Respectfully submitted this the \ 2016.

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AEM
ff /
